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   SCHEDULE
      A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING

          The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved December 27, 2020, as Public Law 116-

260, div. F, tit. II, 134 Stat. 1452, which appropriated the funds that shall be used for the

taking.
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   SCHEDULE
       B
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                                      SCHEDULE B

                                   PUBLIC PURPOSE

       The public purpose for which said property is taken is to construct, install, operate,

and maintain border barrier, including gates and power to operate such gates as well as

roads that will be required to construct, operate, and maintain the border barrier.
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   SCHEDULE
      C
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                                       SCHEDULE C

                                  LEGAL DESCRIPTION

                                     Starr County, Texas

Tract: RGV-RGC-6008
Owners: Maria De La Luz S. Rodriguez, et al.
Acres: 0.795

Being a 0.795 of one acre (34,637 square feet) parcel of land, more or less, being out of
the Augustine de la Garza Survey, Abstract No. 83, Porción 73, ancient jurisdiction of
Camargo, Mexico, now Starr County, Texas, being out of the remainder of a called 3 acre
tract out of Share 19-A as described in Deed of Conveyance recorded in Volume 174, Page
299, Deed Records of Starr County, Texas (First), being the same tract of land conveyed
to Filiberto Sepulveda by Warranty Deed recorded in Volume 182, Page 398, Deed
Records of Starr County, Texas, being the same tract of land conveyed to Maria De La Luz
S. Rodriguez by Correction Deed recorded in Volume 495, Page 382, Deed Records of
Starr County, Texas, and being the same tract of land conveyed to Maria de la Luz
Rodriguez, et al by Affidavit of Heirship recorded in Volume 1538, Page 745 and Volume
1538, Page 751, Official Records of Starr County, Texas, said parcel of land being more
particularly described by metes and bounds as follows;

Commencing at a found 1/2” iron rod at the northeast corner of the 3 acre tract, the
southeast corner of the remainder of a called 22.86 acre tract conveyed to Starr Produce
Company by Warranty Deed with Vendor’s Lien recorded in Volume 512, Page 667,
Official Records of Starr County, Texas (Share 19-A) and the southeast corner of a called
15’ wide easement and right-of-way described in Deed of Conveyance recorded in Volume
174, Page 299, Deed Records of Starr County, Texas (Second), said point being in the west
line of a called 15.27 acre tract conveyed to Jose Maria Reyes, et al by Partition Deed
recorded in Volume 171, Page 36, Deed Records of Starr County, Texas (Share 15), said
point having the coordinates of N=16658969.423, E=854296.760, said point bears S
54°19’14” W, a distance of 1601.53’ from United States Army Corps of Engineers Control
Point No. 211;

Thence: N 81°52’03” W (West, Record), departing the west line of the 15.27 acre tract,
with the north line of the 3 acre tract, the south line of the remainder of the 22.86 acre tract
and the south line of the 15’ wide easement and right-of-way, passing at 15.00’ the
southwest corner of the 15’ wide easement and right-of-way, continuing for a total distance
of 601.88’ to a set 5/8” rebar with an MDS LAND SURVEYING aluminum disk capped
survey marker stamped with the following description: “RGV-RGC-6007-1=6008-1” for
the Point of Beginning and northeast corner of Tract RGV-RGC-6008, said point being in
the north line of the 3 acre tract and the south line of the remainder of the 22.86 acre tract,
said point having the coordinates of N=16659054.567, E=853700.937;
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                                  SCHEDULE C (Cont.)

Thence: departing the south line of the remainder of the 22.86 acre tract, over and across
the remainder of the 3 acre tract, the following courses and distances:
    x S 15°11’46” E, for a distance of 78.54’ to a set 5/8” rebar with an MDS LAND
       SURVEYING aluminum disk capped survey marker stamped with the following
       description: “RGV-RGC-6008-2” for an angle point in the east line of Tract RGV-
       RGC-6008;
   x   S 56°06’51” E, for a distance of 118.76’ to a set 5/8” rebar with an MDS LAND
       SURVEYING aluminum disk capped survey marker stamped with the following
       description: “RGV-RGC-6008-3=6084-4” for the southeast corner of Tract RGV-
       RGC-6008, said point being in the south line of the remainder of the 3 acre tract
       and the north line of a called 2.1 acre tract conveyed to David S. Reyes by
       Correction Deed recorded in Volume 509, Page 291, Official Records of Starr
       County, Texas;
Thence: N 82°27’35” W, with the south line of the remainder of the 3 acre tract and the
north line of the 2.1 acre tract, for a distance of 301.12’ to a set 5/8” rebar with an MDS
LAND SURVEYING aluminum disk capped survey marker stamped with the following
description: “RGV-RGC-6008-4=6084-3” in the south line of Tract RGV-RGC-6008, said
point being in the south line of the remainder of the 3 acre tract and the north line of the
2.1 acre tract;
Thence: N 82°27’35” W, continuing with the south line of the remainder of the 3 acre tract
and the north line of the 2.1 acre tract, for a distance of 25.30’ to a calculated point for the
southwest corner of Tract RGV-RGC-6008, said point being at the southwest corner of
the remainder of the 3 acre tract and the northwest corner of the 2.1 acre tract, said point
being on the east bank of the Rio Grande;
Thence: with the east bank of the Rio Grande and its meanders, the following courses and
distances:
    x N 13°30’18” W, for a distance of 2.34’ to a calculated point for angle;
   x   N 25°17’56” W, for a distance of 57.57’ to a calculated point for angle;
   x   N 26°58’59” W, for a distance of 22.72’ to a calculated point for angle;
   x   N 24°59’24” W, for a distance of 69.60’ to a calculated point for the northwest
       corner of Tract RGV-RGC-6008, said point being at the northwest corner of the 3
       acre tract and the southwest corner of the remainder of the 22.86 acre tract, said
       point being on the east bank of the Rio Grande;
Thence: S 81°52’03” E (West, Record), departing the east bank of the Rio Grande, with
the north line of the 3 acre tract and the south line of the remainder of the 22.86 acre tract,
for a distance of 54.35’ to a set 5/8” rebar with an MDS LAND SURVEYING aluminum
disk capped survey marker stamped with the following description: “RGV-RGC-6007-
2=6008-5” in the north line of Tract RGV-RGC-6008, said point being in the north line of
the 3 acre tract and the south line of the remainder of the 22.86 acre tract;
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                                 SCHEDULE C (Cont.)

Thence: S 81°52’03” E (West, Record), continuing with the north line of the 3 acre tract
and the south line of the remainder of the 22.86 acre tract, passing at 32.36’ a found 1/2”
iron rod, continuing for a total distance of 217.66’ to the Point of Beginning.
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                                 SCHEDULE C (Cont.)

                                 LEGAL DESCRIPTION

                                      Starr County, Texas

Tract: RGV-RGC-6084
Owners: David S. Reyes, Jr., et al.
Acres: 0.353

Being a 0.353 of one acre (15,392 square feet) parcel of land, more or less, being out of
the Augustine de la Garza Survey, Abstract No. 83, Porción 73, ancient jurisdiction of
Camargo, Mexico, now Starr County, Texas, being out of the south 1 acre of a called 3
acre tract out of Share 19-A as described in Deed of Conveyance recorded in Volume
174, Page 299, Deed Records of Starr County, Texas (First), said 1 acre tract being the
same tract of land conveyed to Concepcion R. de Maldonado, et al by Warranty Deed
recorded in Volume 203, Page 479, Deed Records of Starr County, Texas, and being out
of a called 2.1 acre tract conveyed to David S. Reyes by Correction Deed recorded in
Volume 509, Page 291, Official Records of Starr County, Texas, said parcel of land being
more particularly described by metes and bounds as follows;

Commencing at a found 1/2” iron rod at the southeast corner of the 2.1 acre tract and a
northerly exterior corner of a called 22.18 acre tract conveyed to Rio Water Supply
Corporation by General Warranty Deed recorded in Volume 1219, Page 305, Official
Records of Starr County, Texas, said point being in the east line of Share 14 and the west
line of a called 15.27 acre tract conveyed to Jose Maria Reyes, et al by Partition Deed
recorded in Volume 171, Page 36, Deed Records of Starr County, Texas (Share 15), said
point having the coordinates of N=16658722.915, E=854258.360, said point bears S
48°36’14” W, a distance of 1785.38’ from United States Army Corps of Engineers
Control Point No. SS11-2019;

Thence: N 80°48'35" W (N 79°58'00" W, Record), departing the west line of the 15.27
acre tract, with the south line of the 2.1 acre tract and the north line of the 22.18 acre
tract, for a distance of 376.58’ to a set 5/8” rebar with an MDS LAND SURVEYING
aluminum disk capped survey marker stamped with the following description: “RGV-
RGC-6009-1=6079-1”, said point being in the south line of the 2.1 acre tract and the
north line of the 22.18 acre tract;

Thence: N 15°11'46" W, departing the north line of the 22.18 acre tract, over and across
the 2.1 acre tract, for a distance of 76.79’ to a set 5/8” rebar with an MDS LAND
SURVEYING aluminum disk capped survey marker stamped with the following
description: “RGV-RGC-6079-4=6084-1” for the Point of Beginning and southeast
corner of Tract RGV-RGC-6084, said point being in the south line of the 1 acre tract, the
south line of Share 19-A, and the north line of Share 14, said point being within the 2.1
acre tract, said point having the coordinates of N=16658857.162, E=853866.490;
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 Thence: N 81°52'03" W, with the south line of the 1 acre tract, the south line of Share
 19-A, and the north line of Share 14, for a distance of 335.40' to a set 5/8” rebar with an
 MDS LAND SURVEYING aluminum disk capped survey marker stamped with the
 following description: “RGV-RGC-6079-3=6084-2” for the southwest corner of Tract
 RGV-RGC-6084, said point being in the south line of the 1 acre tract, the south line of
 Share 19-A, and the north line of Share 14, said point being within the 2.1 acre tract;

 Thence: N 15°09'59" W, departing the south line of Share 19-A and the north line of
 Share 14, over and across the 1 acre tract and the 2.1 acre tract, for a distance of 49.18’ to
 a set 5/8” rebar with an MDS LAND SURVEYING aluminum disk capped survey
 marker stamped with the following description: “RGV-RGC-6008-4=6084-3” for the
 northwest corner of Tract RGV-RGC-6084, said point being in the north line of the 1 acre
 tract, the north line of the 2.1 acre tract, and the south line of the remainder of a called 3
 acre tract out of Share 19-A as conveyed to Filiberto Sepulveda by Warranty Deed
 recorded in Volume 182, Page 398, Deed Records of Starr County, Texas, being the same
 tract of land conveyed to Maria de la Luz S. Rodriguez by Correction Deed recorded in
 Volume 495, Page 382, Deed Records of Starr County, Texas, being the same tract of
 land conveyed to Celinda Salinas by Gift Deed recorded in Volume 912, Page 192,
 Official Records of Starr County, Texas, being the same tract of land conveyed to
 Roberto Osmar Cuellar by Warranty Deed recorded in Volume 918, Page 699, Official
 Records of Starr County, Texas, and being the same tract of land conveyed to Reynaldo
 Sepulveda and Felipa Sepulveda by Warranty Deed recorded in Volume 1045, Page 425,
 Official Records of Starr County, Texas;

 Thence: S 82°27'35" E, with the north line of the 1 acre tract, the north line of the 2.1
 acre tract, and the south line of the remainder of the 3 acre tract, for a distance of 301.12’
 to a set 5/8” rebar with an MDS LAND SURVEYING aluminum disk capped survey
 marker stamped with the following description: “RGV-RGC-6008-3=6084-4” for the
 most northerly northeast corner of Tract RGV-RGC-6084, said point being in the north
 line of the 1 acre tract, the north line of the 2.1 acre tract, and the south line of the
 remainder of the 3 acre tract;

 Thence: departing the south line of the remainder of the 3 acre tract, over and across the
 2.1 acre tract and the 1 acre tract, the following courses and distances:

    x   S 56°06'51" E, for a distance of 46.16’ to a set 5/8” rebar with an MDS LAND
        SURVEYING aluminum disk capped survey marker stamped with the following
        description: “RGV-RGC-6084-5” for the most easterly northeast corner of Tract
        RGV-RGC-6084;

    x   S 15°11'46" E, for a distance of 30.74’ to the Point of Beginning.
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     SCHEDULE
         D
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                              SCHEDULE D

                               MAP or PLAT

                        LAND TO BE CONDEMNED




                              195-2024-0015_RGV
                              19
                              195
                              1 95-20
                                95 2024-
                                      24-
                                      24
                                       4 001
                                         00155_R
                                               RGV
                                               RGV
                              -RGC-6008_2-15-202
                               RGC 6008 2 15 202
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                           SCHEDULE D (Cont.)
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                           SCHEDULE D (Cont.)
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                               SCHEDULE D (Cont.)




 Tract: RGV-RGC-6008
 Owners: Maria De La Luz S. Rodriguez, et al.
 Acreage: 0.795
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                           SCHEDULE D (Cont.)
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                           SCHEDULE D (Cont.)
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                           SCHEDULE D (Cont.)
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                                 SCHEDULE D (Cont.)




 Tract: RGV-RGC-6084
 Owners: David S. Reyes, Jr., et al.
 Acreage: 0.353
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     SCHEDULE
         E
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                                       SCHEDULE E

                                      ESTATE TAKEN

                                     Starr County, Texas


        The estate taken is fee simple, subject to existing easements for public roads and
 highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
 and appurtenant rights for the exploration, development, production and removal of said
 minerals;

        Reserving to the owners of the lands identified in Deed of Conveyance recorded in
 Volume 174, Page 299, Deed Records of Starr County, Texas and Warranty Deed recorded
 in Volume 203, Page 479, Deed Records of Starr County, Texas, reasonable access to and
 from the owners’ lands lying between the Rio Grande River and the border barrier through
 opening(s) or gate(s) in the border barrier between the westernmost mark labeled
 “Beginning” and easternmost mark labeled “Ending” depicted on the map below;

        Excepting and excluding all interests in water rights and water distribution and
 drainage systems, if any, provided that any surface rights arising from such water rights or
 systems are subordinated to the United States’ construction, operation, and maintenance of
 the border barrier.
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                           SCHEDULE E (Cont.)
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      SCHEDULE
          F
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                                      SCHEDULE F

                         ESTIMATE OF JUST COMPENSATION

    The sum estimated as just compensation for the lands being taken is TWENTY-FIVE

 THOUSAND SIX HUNDRED THIRTY-SIX DOLLARS AND NO/100 CENTS

 ($25,636.00), to be deposited herewith in the Registry of the Court for the use and benefit

 of the persons entitled thereto.



 TRACT RGV-RGC-6008:

 The sum estimated as just compensation for the land acquired is TEN THOUSAND

 THIRTY-SEVEN DOLLARS AND NO/100 CENTS ($10,037.00).



 TRACT RGV-RGC-6084:

 The sum estimated as just compensation for the land acquired is FIFTEEN THOUSAND

 FIVE HUNDRED NINETY-NINE DOLLARS AND NO/100 CENTS ($15,599.00).
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      SCHEDULE
         G
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                                      SCHEDULE G

                                 INTERESTED PARTIES

        The following table identifies all persons who have or claim an interest in the
 property condemned and whose names are now known, indicating the nature of each
 person’s property interest(s) as indicated by references in the public records and any other
 information available to the United States. See Fed. R. Civ. P. 71.1(c).

  Interested Party                              Reference
  Maria De La Luz Rodriguez                     RGV-RGC-6008
                                                Affidavit of Heirship dated March 16,
  Rio Grande City, TX                           2018, recorded on March 22, 2018, in
  Heir of Filiberto Sepulveda                   Volume 1538, Page 745, Document 2018-
                                                0341759, Official Public Records, Starr
                                                County, Texas

                                                Affidavit of Heirship dated March 16,
                                                2018, recorded on March 22, 2018, in
                                                Volume 1538, Page 751, Document 2018-
                                                0341762, Official Public Records, Starr
                                                County, Texas

                                                Deed dated August 10, 1979, recorded on
                                                February 18, 1983, in Volume 469, Page
                                                77, Document 1979-116073, Official
                                                Public Records, Starr County, Texas

                                                Correction Deed, dated August 29, 1984,
                                                recorded on August 30, 1984, in Volume
                                                0495, Page 382, Document 1984-123918,
                                                Official Public Records, Starr County,
                                                Texas

                                                Warranty Deed dated February 5, 1953,
                                                and recorded on February 10, 1953, in
                                                Volume 182, Page 398, Document 1953-
                                                36996, Official Public Records, Starr
                                                County, Texas

  Reynaldo Sepulveda                            RGV-RGC-6008
                                                Gift Deed with Life Estate, dated
  Rio Grande City, TX                           September 3, 2004, recorded on September
  Heir of Filiberto Sepulveda                   3, 2004, in Vol. 1012, Page 683, Document
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                                         2004-240566, Official Public Records,
                                         Starr County, TX

                                         Warranty Deed, dated June 1, 2005,
                                         recorded on June 2, 2005, in Vol. 1045,
                                         Page 425, Document 2005-00246965,
                                         Official Public Records, Starr County, TX

                                         Affidavit of Heirship dated March 16,
                                         2018, recorded on March 22, 2018, in
                                         Volume 1538, Page 745, Document 2018-
                                         0341759, Official Public Records, Starr
                                         County, Texas

                                         Affidavit of Heirship dated March 16,
                                         2018, recorded on March 22, 2018, in
                                         Volume 1538, Page 751, Document 2018-
                                         0341762, Official Public Records, Starr
                                         County, Texas

                                         Warranty Deed dated February 5, 1953,
                                         and recorded on February 10, 1953, in
                                         Volume 182, Page 398, Document 1953-
                                         36996, Official Public Records, Starr
                                         County, Texas

  Celinda S. Salinas                     RGV-RGC-6008
                                         Gift Deed, dated October 18, 2001,
  Rio Grande City, TX                    recorded on October 18, 2001, in Vol.
  Heir of Filiberto Sepulveda            0912, Page 192, Document 2001-218583,
                                         Official Public Records, Starr County, TX

                                         Affidavit of Heirship dated March 16,
                                         2018, recorded on March 22, 2018, in
                                         Volume 1538, Page 745, Document 2018-
                                         0341759, Official Public Records, Starr
                                         County, Texas

                                         Affidavit of Heirship dated March 16,
                                         2018, recorded on March 22, 2018, in
                                         Volume 1538, Page 751, Document 2018-
                                         0341762, Official Public Records, Starr
                                         County, Texas
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                                           Page 734, Document No. 1983-118077,
                                           Official Public Records, Starr County,
                                           Texas

                                           Correction Deed dated January 7, 1985
                                           recorded on May 20, 1985, in Volume 509,
                                           Page 291, Document No. 1985-127532,
                                           Official Public Records, Starr County,
                                           Texas

  Unknown heirs/devisees of Concepcion     RGV-RGC-6084
  Maldonado                                Warranty Deed dated June 23, 1955,
                                           recorded on June 23, 1955, in Volume
  Unknown heirs/devisees of Leonel         203, Page 479, Official Public Records,
  Maldonado, Sr.                           Starr County, Texas

  Unknown heirs/devisees of Reynaldo
  Maldonado, deceased

  Unknown heirs/devisees of Paula
  Abergo

  Rio Grande City Consolidated             RGV-RGC-6008/RGV-RGC-6084
  Independent School District              Abstract of Judgment, Cause No. TS-99-
  P.O. Box 91                              180, in the 229th Judicial Court of Starr
  Rio Grande City, Texas 78582             County, Texas, dated August 2, 2007,
                                           recorded on March 24, 2009, in Volume
  South Texas College                      1229, Page 68, Document No. 2009-
  100 N. FM 3167, Ste. 200                 281481, Official Records, Starr County,
  Rio Grande City, Texas 78582             Texas.

  Starr County, Texas
  100 N. FM 3167, Ste. 200
  Rio Grande City, Texas 78582

  Ameida Salinas,                          RGV-RGC-6008/RGV-RGC-6084
  Starr County Tax Assessor                Sepulveda Filiberto Heirs
  100 N. FM 3167, Suite 201                Account No. 0024848
  Rio Grande City, Texas 78582             AB 83 POR 73 A DELAGARZAPT SH
                                           19-A

                                           Maria De La Luz Rodriguez
                                           Account No. 0041752
                                           AB 83 POR 73 A DELA GARZAPT SH
                                           19-A
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                                      David S. Reyes, et al
                                      Account No. 0036636
                                      AB 83 POR 73 A DELA GARZAPT SH
                                      19-A
